      To: The Honorable Martin Reidinger
            U.S. District Court Judge
   From: Christine Puhl
            U.S. Probation Officer
Subject: Victor Lee Rose
            Case Number: 0419 1:02CR00045- 011
            REQUEST TO DESTROY SEIZED PROPERTY
   Date: 3/28/2014



The above-named offender began TSR supervision on 5/16/2011 and will remain on supervision until 5/15/2016. On
January 30, 2013 an unannounced home contact and urinalysis screening revealed that the offender had unlawfully used
benzodiazepine pills. He admitted to using Valium without a prescription and admitted to having additional pills in his
shed. He revealed the location of the pills and the contraband (14 Klonopins and 2 Valiums in a metal tin) was seized by
the U.S. Probation Office and was securely placed into evidence storage at the U.S. Probation Office. A year of further
supervision has yielded no further violation conduct and it has been deemed advisable that the Probation Office request
the destruction of the contraband at this time.

Thank you for your time and attention to this matter. Please do not hesitate to contact me at 828-771-7350, should you
have any questions.




THE COURT ORDERS:

☒ Destroy Seized Property as Requested
☐ Do Not Destroy Seized Property
☐ Return Seized Property to the Defendant


                                                              Signed: 3/28/2014




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